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 1'A"IE, ADDRESS, AC:D TELEPH01'E NUMBER OF ATTORNEY(S)
 OR OF PARTY APPEARI"G I:--l PRO PER

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 ATTOR:--lEY(S) FOR:

                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
                                                                              CASE NUMBER:
Tracy Eggleston, et al.

                                                              Plaintiff(s),
                                     v.

Direct Protect Security & Surveillance, Inc.                                                 CERTIFICATION AND NOTICE
                                                                                               OF INTERESTED PARTIES
                                                             Defendant(s)                          (Local Rule 7.1-1)


TO:       THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for                        Plaintiff Eggleston and the alleged class
or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.

                (List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

                               PARTY                                                   CONNECTION / INTEREST
Woodrow & Peluso, LLC                                                         Counsel for Plaintiff and the alleged class
Aaron D. Aftergood                                                            Counsel for Plaintiff and the alleged class




          25/11/2019                                        /s/ Aaron Aftergood
          Date                                             Signature


                                                           Attorney of record for (or name of party appearing in pro per):

                                                            Plaintiff



CV-30 (05/13)                                           NOTICE OF INTERESTED PARTIES
